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DEFENDANT: CLARA M. MUELLER

DOB: 1950
Colorado Springs, CO 80920

YES X_NO

OFFENSE: Count 1: - .18U.S.C.§ 286 - Conspiracy to File False Claims for
Refund

18 U.S.C. § 287 — False Claim for Refund (Form
~-1099-OID)

Count 14: 18 U.S.C. § 371 — Conspiracy to Corruptly Endeavor
to Obstruct or Impede the Due
Administration of the Internal Revenue Laws

- 26 U.S.C. § 7212(a) and 18 U.S.C. § 2 — Corrupt
Endeavor to Obstruct.or Impede the Due
Administration of the Internal Revenue Laws and

Aiding and Abetting
LOCATION OF OFFENSE: ~— EI Paso County, Colorado ~
PENALTY: Count; NMT.10 years imprisonment; NMT_

-- $250,000 fine, or both; NMT 3 years supervised
release; and $100 Special. Assessment .

Count13: NMT 5 years imprisonment; NMT
a ’ . $250,000 fine, or both; NMT 3 years supervised
release; and $100 Special Assessment

Count 14: NMT 5 years imprisonment; NMT
~~. $250,000 fine, or both; NMT-3 years supervised
release; and $100 Special Assessment

Count 18: NMT 3 years imprisonment; NMT $5,000 fine, or
o ~~ both; NMT 1 year supervised release; and $100
Special Assessment

AGENT: ——_ Special Agent Adam Rutkowski, IRS Cl
Special Agent Klaton Knabb, TIGTA
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AUTHORIZED BY: Matthew T. Kirsch, Assistant U. S. Attorney _

ESTIMATED TIME OF TRIAL:
______ five days.or less
_ xX over five days
___ other

THE GOVERNMENT
‘will seek detention in this case
X _ will not seek detention i in this case.

The statutory presumption of detention is not applicable to this defendant. °

OCDETFCASE: __——sYes X__No

